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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

 THADDEUS TURNER, Independent
 Administrator of the Estate of A.T., Deceased and
 ROXIE HURT, individually,

                 Plaintiffs,

                 v.                                        No.

 UNITED STATES OF AMERICA,

                 Defendant.

                                      COMPLAINT AT LAW

       NOW COME the Plaintiffs, Thaddeus Turner, Independent Administrator of the Estate of

A.T., Deceased and Roxie Hurt, individually, by and through their attorneys, Cirignani Heller &

Harman, LLP, complaining of the Defendant United States of America, stating as follows:

       1.      This is an action under the Federal Tort Claims Act, 28 USC §§2671, et. seq.

       2.      This Court is vested with jurisdiction pursuant to 28 USC §1346(b).

       3.      Plaintiffs Thaddeus Turner (hereinafter referred to as “Thaddeus”) and Roxie Hurt

(hereinafter referred to as “Roxie”) reside in Crest Hill, Illinois, the same being within the

Northern District of Illinois.

       4.      The acts and/or omissions complained of herein occurred in the City of Joliet,

County of Will and State of Illinois, the same being within the Northern District of Illinois.

       5.      On September 13, 2014, Roxie and her unborn child, A.T., came under the care of

Alfonso Del Granado, M.D. (hereinafter referred to as “Del Granado”) at Aunt Martha’s West

Joliet Community Health Center, 333 N. Madison Street, Suite 150, Joliet, Illinois 60435

(hereinafter referred to as “Aunt Martha’s”) for prenatal care.
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       6.      From September 13, 2014 through February 28, 2015, Del Granado continued to

be Roxie’s prenatal care provider at Aunt Martha’s.

       7.      On September 13, 2014, Roxie’s blood pressure was 110/70.

       8.      On January 31, 2015, Roxie presented for her appointment with Del Granado at

Aunt Martha’s.

       9.      On January 31, 2015, Del Granado noted that Roxie’s blood pressure was 140/86.

       10.     On February 28, 2015, Roxie presented for her appointment with Del Granado at

Aunt Martha’s.

       11.     On February 28, 2015, Del Granado noted that Roxie’s blood pressure was

140/110.

       12.     On March 5, 2015, Roxie was found unconscious at home.

       13.     On March 5, 2015, paramedics noted that Roxie’s blood pressure was 220/142.

       14.     On March 5, 2015, Roxie was experiencing brain ischemia, acute renal failure and

acute pulmonary failure.

       15.     On March 5, 2015, Roxie was taken by paramedics to Presence Saint Joseph

Medical Center in Joliet, Illinois.

       16.     On March 5, 2015, Roxie underwent an emergency cesarean section.

       17.     On March 5, 2015, A.T. was born with hypoxic ischemic encephalopathy.

       18.     On March 5, 2015, A.T. was transferred to Rush University Medical Center in

Chicago, Illinois.

       19.     From March 5, 2015 through March 20, 2015, A.T. was an inpatient at Rush

University Medical Center.

       20.     On March 20, 2015, A.T. died from hypoxic ischemic encephalopathy.


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       21.     A.T. left surviving her: her parents, Thaddeus Turner and Roxie Hurt.

       22.     The Plaintiff, Thaddeus Turner, has been appointed Independent Administrator of

the Estate of A.T., deceased, by the Probate Division of the Circuit Court of Will County.

       23.     Plaintiffs submitted an SF-95 administrative claim based on the allegations herein

in the amount of $30,000,000 to the Department of Health and Human Services (“Department”).

The claim was acknowledged as received on November 13, 2015 by the Department.

       24.     Six months have passed since Plaintiffs submitted their SF-95 administrative

claim to the Department, and, to date, the Department has neither denied the claim nor requested

additional time to evaluate the claim.

                                           COUNT I
                                     (Wrongful Death Action)

       25.     Plaintiffs adopt and incorporate paragraphs 1 through 24 of this complaint at law

as though fully set forth herein.

       26.     In 2015 and at all times relevant herein, Aunt Martha’s was a U.S. Department of

Health and Humans Services Health Center.

       27.     In 2015 and at all times relevant herein, Aunt Martha’s was deemed eligible for

Federal Tort Claims Act coverage.

       28.     In 2015 and at all times relevant herein, Del Granado and any other physicians,

physician assistants, advanced practice nurses and registered nurses providing care to Roxie and

her unborn child at Aunt Martha’s were agents and/or employees of Aunt Martha’s.

       29.     In 2015 and at all times relevant herein, as agents and/or employees of Aunt

Martha’s, Del Granado and any other physicians, physician assistants, advanced practice nurses

and registered nurses providing care to Roxie and her unborn child at Aunt Martha’s were

deemed employees of Defendant USA.

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       30.     In 2015 and at all times relevant herein, while Del Granado and any other

physicians, physician assistants, advanced practice nurses and registered nurses were rendering

care and treatment to Roxie and her unborn child, they were acting within the scope of their

agency or employment with Defendant USA.

       31.     There was a duty on the part of Defendant USA, by and through its agents and/or

employees, Del Granado, physicians, physician assistants, advanced practice nurses and

registered nurses, to care for, diagnose and treat Roxie and her unborn child, A.T., in accordance

with accepted standards of prevailing prenatal and obstetrical practice and opinion in Will

County, Illinois.

       32.     After assuming the care and treatment of Roxie and her unborn child, Defendant

USA, by and through its agents and/or employees, was guilty of one or more of the following

wrongful acts and/or omissions in treating Roxie and her unborn child, A.T.:

               a.     Del Granado and/or other physician(s), physician assistant(s), advanced
                      practice nurse(s) and registered nurse(s) negligently and carelessly failed
                      to address Roxie’s elevated blood pressure on January 31, 2015;

               b.     Del Granado and/or other physician(s), physician assistant(s), advanced
                      practice nurse(s) and registered nurse(s) negligently and carelessly failed
                      to keep Roxie at Aunt Martha’s on January 31, 2015 for observation and
                      to see if her elevated blood pressure persisted;

               c.     Del Granado and/or other physician(s), physician assistant(s), advanced
                      practice nurse(s) and registered nurse(s) negligently and carelessly failed
                      to carefully follow Roxie after the January 31, 2015 visit by arranging for
                      weekly visits;

               d.     Del Granado and/or other physician(s), physician assistant(s), advanced
                      practice nurse(s) and registered nurse(s) negligently and carelessly failed
                      to prescribe drug therapy to reduce Roxie’s blood pressure;

               e.     Del Granado and/or other physician(s), physician assistant(s), advanced
                      practice nurse(s) and registered nurse(s) negligently and carelessly failed
                      to recognize and control Roxie’s hypertension;



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               f.      Del Granado and/or other physician(s), physician assistant(s), advanced
                       practice nurse(s) and registered nurse(s) negligently and carelessly failed
                       to address Roxie’s elevated blood pressure on February 28, 2015;

               g.      Del Granado and/or other physician(s), physician assistant(s), advanced
                       practice nurse(s) and registered nurse(s) negligently and carelessly failed
                       to keep Roxie at Aunt Martha’s on February 28, 2015 for observation and
                       to see if her elevated blood pressure persisted;

               h.      Del Granado and/or other physician(s), physician assistant(s), advanced
                       practice nurse(s) and registered nurse(s) negligently and carelessly failed
                       to hospitalize Roxie on February 28, 2015 for intensive treatment to get
                       her blood pressure under control; and

               i.      Del Granado and/or other physician(s), physician assistant(s), advanced
                       practice nurse(s) and registered nurse(s) negligently and carelessly failed
                       to emergently deliver Roxie given her persistent elevated blood pressure.

       33.     As a direct and proximate result of one or more of the aforementioned acts and/or

omissions of Defendant USA, A.T. died.

       34.     By reason of the death of A.T., Thaddeus Turner and Roxie Hurt have suffered

grief and sorrow and have been deprived of her comfort, society, companionship and protection

and have sustained pecuniary damages, all to their great loss and damage.

       WHEREFORE, Plaintiffs ask for judgment against Defendant USA in an amount up to

$15,000,000.00 (for Counts I, II and II).

                                               COUNT II
                                            (Survival Action)

       35.     Plaintiffs adopt and incorporate paragraphs 1 through 24 of this complaint at law

as though fully set forth herein.

       36.     Plaintiffs adopt and incorporate paragraphs 26 through 32 of this complaint at law

as though fully set forth herein.

       37.     As a direct and proximate result of one or more of the aforementioned acts and/or

omissions of Defendant USA, A.T. suffered hypoxic ischemic encephalopathy, permanent brain

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damage, other permanent physical neurological injury, pecuniary loss and prolonged pain and

suffering.

       WHEREFORE, Plaintiffs ask for judgment against Defendant USA in an amount up to

$15,000,000.00 (for Counts I, II and II).

                                              COUNT III
                                    (Illinois Family Expense Act)

       38.     Plaintiffs adopt and incorporate paragraphs 1 through 37 of this complaint at law

as though fully set forth herein.

       39.      On and after March 5, 2015, Thaddeus Turner and Roxie Hurt did then and there

become obligated for various sums of money for the medical, hospital, and other care and costs

of A.T., and remained so obligated until A.T.’s death, pursuant to the Illinois Family Expense

Act.

       WHEREFORE, Plaintiffs ask for judgment against Defendant USA in an amount up to

$15,000,000.00 (for Counts I, II & III).

                                              COUNT IV
                                            (Personal Injury)

       40.     Plaintiffs adopt and incorporate paragraphs 1 through 24 of this complaint at law

as though fully set forth herein.

       41.      Plaintiffs adopt and incorporate paragraphs 26 through 32 of this complaint at

law as though fully set forth herein.

       42.      As a direct and proximate result of one or more of the aforementioned acts and/or

omissions of Defendant USA, Roxie’s elevated blood pressure went untreated and she

experienced brain ischemia, acute renal failure, acute pulmonary failure, emergency cesarean

section, physical and neurological injury, pain and suffering, and pecuniary loss.

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       WHEREFORE, Plaintiffs ask for judgment against Defendant USA in an amount up to

$15,000,000.00 (for Count IV).

                                         Respectfully submitted,

                                         /s/ William A. Cirignani
                                         ________________________________________
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